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                              UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF CALIFORNIA


 PRO-TROLL, INC.,
                                                    Case No. 16-cv-04062-VC
                Plaintiff,

         v.                                         ORDER OF DISMISSAL

 SHORTBUS FLASHERS, LLC,
                Defendant.




       The Court has been advised by the Certification of ADR Session filed on February 22,

2017 that the parties have resolved this case through mediation. (Re: Dkt. No. 43). Therefore, it

is ORDERED that this case is DISMISSED without prejudice. All deadlines and hearings in the

case are vacated. Any pending motions are moot.

       The parties retain the right to reopen this action within 60 days of this Order if the

settlement is not consummated. If a request to reinstate the case is not filed and served on
opposing counsel within 60 days, the dismissal will be with prejudice.

       IT IS SO ORDERED.

Dated: February 23, 2017
                                                 ______________________________________
                                                 VINCE CHHABRIA
                                                 United States District Judge
